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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

APRIL KIMBLE,                              )
                                           )   Civil Action No.:
      Plaintiff,                           )   1:19-cv-02549-JPB-JSA
                                           )
            v.                             )
                                           )
QUALITY ASSIST, INC. and                   )
TRACEY BANKHEAD                            )
                                           )
      Defendants.                          )

         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      COME NOW, Defendants Quality Assist, Inc. and Tracey Bankhead

(collectively “Defendants”), pursuant to Fed. R. Civ. P. 56 and LR 56 NDGa, and

hereby submit their Motion for Summary Judgment on all counts of Plaintiff’s

Second Amended Complaint (Doc 59). Defendants now ask this Court to grant the

instant Motion because no genuine issue exists as to any material fact related to

Plaintiff’s claims of discrimination and retaliation. As such, Defendants are

entitled to judgment as a matter of law. Defendants support the instant Motion

with their Memorandum of Law, a Statement of Undisputed Material Facts, and

evidence from the record, all filed simultaneously herewith.

                   Respectfully submitted this 14th day of June 2021,

                                               /s/ Robert C.D. McDonald
                                               Georgia Bar No. 489600
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                                         Attorney for Defendants Quality
                                         Assist, Inc. and Tracey Bankhead

The Law Offices of Robert C.D. McDonald, P.C.
5410 Matt Highway, PMB 3
Cumming, Georgia 30028
Phone: (404) 314-6738
Facsimile: (770) 662-1561
lawyerbobmcd@yahoo.com




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                        CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2021, I electronically filed the foregoing

Motion For Summary Judgment, Memorandum of Law in support thereof,

Statement Of Material Facts For Which There Is No Genuine Issue To Be Tried,

and supportive evidence from the record using the CM/ECF system, which will

automatically send email notification of such filing to the following attorneys of

record:

                               Beverly A. Lucas
                              Lucas & Leon, LLC
                           beverly@lucasandleon.com

                               Meredith J. Carter
                           meredith@mcarterlaw.com


                                            /s/ Robert C.D. McDonald
                                            Georgia Bar No. 489600
                                            Attorney for Defendants Quality
                                            Assist, Inc. and Tracey Bankhead

The Law Offices of Robert C.D. McDonald, P.C.
5410 Matt Highway, PMB 3
Cumming, Georgia 30028
Phone: (404) 314-6738
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